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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,

                   v.                                       Case No. 25-cv-10676-BEM

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



 PLAINTIFFS’ EMERGENCY MOTION ON BEHALF OF CLASS MEMBERS E.A.H.,
   J.M.R., T.N., J. M.-G., K.M., D.D., N.M., AND T.T.P. TO ENFORCE ORDER ON
     REMEDY (DKT. 119) AND ALTERNATIVE MOTION FOR INDIVIDUAL
   TEMPORARY RESTRAINING ORDERS AND PRELIMINARY INJUNCTIONS

       Plaintiffs respectfully request that the Court grant this Emergency Motion to Enforce

Order on Remedy and Alternate Motion for Temporary Restraining Orders and Preliminary

Injunctions. The grounds for this motion are set forth in the accompanying memorandum of

law, exhibits in support thereof, and the applicable law. A proposed order also accompanies this

motion.

                             REQUEST FOR ORAL ARGUMENT

          Pursuant to Local Rule 7.1(d), Plaintiffs believe that the Court can rule on the motion

for a temporary restraining order without further hearing but will be available in the event that

the Court schedules a hearing.




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Respectfully submitted,

 s/ Trina Realmuto
 Trina Realmuto*                             Matt Adams*
 Kristin Macleod-Ball*                       Leila Kang*
 Mary Kenney*                                Aaron Korthuis*
 Tomas Arango                                Glenda M. Aldana Madrid*
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Dated: June 23, 2025




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           CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), I emailed Defendants’ counsel

Mary Larakers, Matthew Seamon, Elianis Perez, and Jonathan Guynn at 4:45 pm on June 23,

2025, to inform counsel that Plaintiffs intended to file this motion. Ms. Larakers acknowledged

receipt of the email at 5:39 pm. But, as of the time of this filing, Defendants have not provided

any substantive response.

       This communication was an attempt to resolve the issues raised in this motion, but the

parties were unable to reach a resolution.


s/ Trina Realmuto
Trina Realmuto




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